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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
Case No: 18-30849                       Name of Debtor: Bendco, Inc.
Witnesses:                              Case Style:In Re Bendco, Inc.
Robert Kyslinger                        Judge: David R. Jones
Mynde S. Eisen (attorneys fees)                Court Deputy: Jesus Guajardo
Any witness listed on any other parties        Hearing Date: May 31, 2018
witness list may be called as a witness
                                               Hearing Time: 2:00 p.m.
                                               Party’s Name: Omnipotech, LTD.
                                               Attorney’s Name: Mynde Eisen
                                               Attorney’s Phone: 713-266-2955
Rebuttal Witnesses:                            Nature of Proceeding:
                                               Omnipotech, LTD.’s Motion for Relief
                                               from Stay


                                          EXHIBITS
Ex.             Description               Offered Objection   Admitted/       Disposition
 #                                                              Not
                                                              Admitted
1.    On-Premise Infrastructure
      Project & Services Order Form
      dated July 28, 2015
2.    Project & Services Order Form
      dated June 3, 2015
3.    OMNIPOTECH Master
      Service Agreement dated
      OmniPotech Acceptable Use
      Policy dated July 28, 2015
4.    Network Level Service
      Agreement dated July 28, 2015
5.    OMNIPOTECH Acceptable
      Use Policy dated July 28, 2015
6.    Statement of Account for
      Bendco dated May 30, 2015
7.    OMNIPOTECH Invoice No.
      46507 dated 12/31/16
8.    OMNIPOTECH Invoice No.
      _____dated 1/31/17
9.    OMNIPOTECH Invoice No.
      47216dated 2/28/17
10.   OMNIPOTECH Invoice No.
      47619 dated 3/31/17
11.   OMNIPOTECH Invoice No.
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      47966 dated 4/30/17
12.   OMNIPOTECH Invoice No.
      48292 dated 5/31/17
13.   OMNIPOTECH Invoice No.
      48774 dated 6/30/17
14.   OMNIPOTECH Invoice No.
      49150 dated 7/31/17
15.   OMNIPOTECH Invoice No.
      49501 dated 8/31/17
16.   OMNIPOTECH Invoice No.
      49918 dated 9/30/17
17.   OMNIPOTECH Invoice No.
      50262 dated 10/31/17
18.   OMNIPOTECH Invoice No.
      50692 dated 11/30/17
19.   OMNIPOTECH Invoice No.
      51017 dated 12/31/17
20.   OMNIPOTECH Invoice No.
      51450 dated 1/31/18
21.   OMNIPOTECH Invoice No.
      51866 dated 2/28/18
22.   OMNIPOTECH Invoice No.
      52215 dated 3/31/18
23.   OMNIPOTECH Invoice No.
      52719 dated 4/30/18
24.   OMNIPOTECH Invoice No.
      52961 dated 5/31/18
25.   OMNIPOTECH Invoice No.
      NP-BCO0117 dated 11/1/17
26.   OMNIPOTECH Invoice No.
      NP-BCO0217 dated 2/1/17
27.   OMNIPOTECH Invoice No.
      NP-BCO0317 dated 3/1/17
28.   OMNIPOTECH Invoice No.
      NP-BCO0417 dated 4/1/17
29.   OMNIPOTECH Invoice No.
      NP-BCO0517 dated 5/1/17
30.   OMNIPOTECH Invoice No.
      NP-BCO0617dated 6/1/17
31.   OMNIPOTECH Invoice No.
      NP-BCO0717 dated 7/1/17
32.   OMNIPOTECH Invoice No.
      NP-BCO0817 dated 8/1/17
33.   OMNIPOTECH Invoice No.
      NP-BCO0917 dated 9/1/17
34.   OMNIPOTECH Invoice No.
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      NP-BCO1017 dated 10/17/17
35.   OMNIPOTECH Invoice No.
      NP-BCO1117 dated 11/1/17
36.   OMNIPOTECH Invoice No.
      NP-BCO12/17 dated 12/1/17
37.   OMNIPOTECH Invoice No.
      NP-BCO0118 dated 1/1/18
38.   OMNIPOTECH Invoice No.
      NP-BCO0218 dated 2/1/18
39.   OMNIPOTECH Invoice No.
      NP-BCO0318 dated 3/1/18
40.   OMNIPOTECH Invoice No.
      NP-BCO0418 dated 4/11/18
41.   OMNIPOTECH Invoice No.
      NP-BCO0518 dated 5/1/18
42.   OMNIPOTECH Invoice No. .
      FC-BC0418 dated 4/30/18




                                   Respectfully submitted;

                                   LAW OFFICE OF MYNDE S. EISEN, P.C.

                                   By: /s/ Mynde S. Eisen
                                           Mynde S. Eisen
                                           State Bar No. 06503950
                                           Derek Loetzerich
                                           State Bar No. 24102105
                                           6546 Greatwood Parkway, Suite C
                                           Sugar Land, Texas 77479
                                           (281) 545-8600
                                           (281) 631-3101 (facsimile)
                                           Email: mynde@eisenlawoffice.com

                                   ATTORNEYS FOR CREDITOR
                                   OMNIPOTECH, LTD.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Exhibit List has been served on all parties in interest as
listed below by depositing the same in the U.S. mail, regular mail, postage prepaid on this 25th
day of May, 2018.



                                               /s/ Mynde S. Eisen
                                               Mynde S. Eisen

DEBTOR                                                 Citibank, N.A,
                                                       388 Greenwich Street
Bendco, Inc.                                           New York, NY 10013
801 Houston Ave.
Pasadena, TX 77502                                     Corporation Service Co. Of America
                                                       P.O. Box 2576
DEBTOR’S ATTORNEY                                      Springfield, IL 62708

Richard L. Fuqua                                       Konica Minolta
Fuqua & Associates, PC                                 21146 Network Place
5005 Riverway, Suite 250                               Chicago, IL 60673
Houston, TX 77056
                                                       Leaf Capital Funding, LLC
US TRUSTEE                                             2005 Market Street, 14th Floor
                                                       Philadelphia, PA 19103
U.S. Trustee
515 Rusk Ave., Ste. 3516                               Susquehanna Comm Finance
Houston, TX 77002                                      2 County View Road, Ste 300
                                                       Malvern, PA 19355
SECURED CREDITORS
                                                       TCF Equipment Finance
Ascentium Capital, LLC                                 P.O. Box 77077
23970 Highway 59 N.                                    Minneapolis, MN 55480-7777
Kingwood, TX 77339-1535
                                                       US Bancorp Equipment Finance
Bank of America, N.A.                                  P.O. Box 790413
P.O Box 660576                                         St Louis, MO 63179-0413
Dallas, Texas 75266-0576
                                                       Wells Fargo Bank, N.A.
Bank of America, N.A.                                  300 Tri-State International #400
800 Market Street                                      Lincolnshire, IL 60069
St. Louis, MO 63101-2510
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UNSECURED CREDITORS:                      Great Western Metals
                                          14121 Gulf Freeway
TXU Energy                                Houston, TX 77034
PO Box 650638
Dallas, TX 75265                          IRIS NDT, Inc
                                          1115 W. 41st St.
CAN Capital Asset Servicing, Inc.         Tulsa, OK 74107
Fora Financial
242 W. 36th St.                           Accutest Labs
New York, NY 10018                        7821 Pinemont
                                          Houston, TX 77040
Bank of America
PO Box 660576
Dallas, TX 75266-0576                     Adobe Equipment
                                          7607 Wallisville Rd
Knight Capital Funding II                 Houston, TX 77020
9 East Lockerman St #3A-543
Dover, DE 19001                           Dixie Pipe Sales, LP
                                          Dept #372
G&A Partners                              PO Box 4346
17220 Katy Fwy #350                       Houston, TX 77210-4346
Houston, TX 77094
                                          Praxair
Tech Induction                            10 Riverview Dr.
13129 23 Mile Road                        Danbury, CT 06810
Shelby Township, MI 48315
                                          Omnipotech LTD
Team Industrial Services Inc.             11422A Craighead Dr
PO Box 842233                             Houston, TX 77025
Dallas, TX 75284-2233
                                          Texas Pipe & Supply Co.
TUV Rheinland Ind Solutions               PO Box 301052
PO Box 417532                             Dallas, TX 75303-1052
Boston, MA 02241-7532
                                          Fastway Freight Systems
LB Foster Ball Winch                      PO Box 87644
PO Box 643343                             Houston, TX 77287-7644
Pittsburgh, PA 15264-3343
                                          PARTIES REQUESTING NOTICE:
Ball Winch
15786 Hwy 75 North, #110948               Mynde S. Eisen
Willis, TX 77378                          Law Office of Mynde S. Eisen, P.C.
                                          6546 Greatwood Parkway, Suite C
Herc Rentals, Inc.                        Sugar Land, Texas 77479
PO Box 650280
Dallas, TX 75265-0280
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Hector Duran                              San Jacinto Community College District
Office of the US Trustee                  c/o Daniel J. Snooks
515 Rusk Ave., Ste. 3516                  11550 Fuqua, Suite 370
Houston, TX 77002                         Houston, TX 77034

Harris County                             Jeremy M. Jones
c/o Tara L. Grundemeier                   Lam, Lynn & Phillip, P.C.
Linebarger Goggan Blair et al             6213 Drive, Suite 2100
PO Box 3064                               Houston, Texas 77057
Houston, TX 77002

Jay W. Hurst, Asst. Attorney General
c/o Sherri K. Simpson, Paralegal
Bankruptcy & Collections Div.
PO Box 12548
Austin, TX 78711-2548

BB&T Commercial Equipment Capital
c/o Alan B. Padfield
421 W. Third St., Ste. 910
Fort Worth, TX 76102

Susquehanna Commercial Finance, Inc.
c/o Alan B. Padfield
421 W. Third St., Ste. 910
Fort Worth, TX 76102

TCF Equipment c/o Teri H. Kelley
6750 West Loop S., Ste. 920
Bellaire, TX 77401

Richard A. Kincheloe
Assistant United States Attorney
1000 Louisiana, Ste. 2300
Houston, TX 77002

Palladian Publications
c/o William T. Peckham
1104 Nueces St., Ste. 104
Austin, TX 78701-2106

AmTrust Insurance Co of Kansas
Maurice Witscher, LLP
c/o Alan C. Hochheiser
2000 Auburn Drive, Ste. 200
Beachwood, OH 44122
